                          IN THE UNITED STATES DISTRICT COURT FOR
                             THE EASTERN DISTRICT OF TENNESSEE


  MICHELLE TORRES, ROBBIE JOHNSON-
  LOVEDAY, AMANDA CAMERON, and
  BETHANY EDMOND on behalf of
  themselves and those similarly situated,

                          Plaintiffs,

                   v.
                                                           Case No. 2:20-cv-00026
  W. DOUGLAS COLLINS, in his official
  capacity as Hamblen County General Sessions              (Class Action)
  Judge,

  TERESA WEST, in her official capacity as
  Hamblen County General Sessions Circuit
  Court Clerk,

  KATIE WEST MOORE, NANCY PHILLIPS,
  and KATHY ROBERTSON, in their official
  capacities as Judicial Commissioners of
  Hamblen County General Sessions Court,

            and

  ESCO R. JARNAGIN, in his official capacity
  as Hamblen County Sheriff,

                          Defendants.



                                        CLASS ACTION COMPLAINT
   I.   Introduction

        1.        Hamblen County operates a two-tier system of pretrial justice. In Hamblen County,

 people arrested for a criminal offense who can pay their money bail1 are released from jail



        1
          Throughout this Complaint, the terms “money bail” and “secured financial condition of
 release” are used interchangeably, and mean the same thing: a sum of money that an individual
 detained pretrial must pay before she is released from jail.
                                                      1

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 immediately. Those who cannot pay remain in jail for weeks before they have any opportunity to

 contest their pretrial detention or explain that they cannot pay. How quickly—or whether—a

 person is released from jail depends on her access to money. As a consequence, the Hamblen

 County Jail operates at over 150 percent capacity, and some of the poorest residents of Hamblen

 County are kept unclothed, shackled to walls and door handles, or forced to sleep in storage closets,

 simply because they are unable to pay for their release.

        2.      Plaintiffs Michelle Torres, Robbie Johnson-Loveday, Amanda Cameron, and

 Bethany Edmond (collectively, “Named Plaintiffs”) are currently incarcerated at the Hamblen

 County Jail solely because they are too poor to pay money bail. Defendants informed Named

 Plaintiffs that they are eligible for immediate release, but that they must first pay $75,000, $6,000,

 $30,000, and $1,500, respectively, as financial conditions of pretrial release. In no case did

 Defendants consider their ability to pay or determine that pretrial detention serves any government

 interest at the time the money bail amount was set.

        3.      Defendants are responsible for discriminatory practices that strip people of their

 fundamental constitutional rights to pretrial liberty and to freedom from being jailed solely because

 of their poverty. Moreover, Defendants’ policies and practices that detain presumptively innocent

 people prior to trial lack even the most basic procedural protections: a timely individualized

 hearing, notice of the issues to be determined, the opportunity to present and confront evidence

 and make arguments at a hearing with counsel, and findings on the record by clear and convincing

 evidence that the constitutional standard for pretrial detention has been met. Defendants do not

 provide any process for incarcerated individuals to contest their jailing until days or weeks have

 passed. Wealthier individuals who can pay money bail are released immediately. Those unable to

 pay remain in the jail, at significant cost to taxpayers.



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        4.      Defendants violate Plaintiffs’ rights to equal protection, substantive and procedural

 due process, and representation by counsel.

        5.      Defendants’ unconstitutional policies and practices result in widespread pretrial

 detention based on poverty. Of the more than 400 people locked in Hamblen County Jail on any

 given day in 2019, an average of approximately 50 percent were awaiting trial.

        6.      Wealth-based pretrial detention exacts a heavy human toll. The standard use of

 financial conditions of release in a county where one in five people live in poverty2 has resulted in

 a human rights catastrophe in the largely underground Hamblen County Jail. Detainees, shackled

 at the ankles, overflow from mold- and mildew-infested cells and some sleep nearly naked on the

 concrete jail floor. Many human beings are chained to benches, door handles, poles, and their own

 wheelchairs. Medical care is extremely limited. The jail’s disregard for the humanity of those

 confined there is illustrated by a sign posted on the door that states the hours during which “the

 jail will be on lockdown for feeding.” See Declaration of Ethel Rhodes, Assistant Public Defender

 for Tennessee’s Third Judicial District (Rhodes Decl.), Ex. A ¶ 13.

        7.      In Defendant Sheriff Jarnagin’s own words, the Hamblen County Jail is a “cesspool

 of a dungeon,” where people are forced to live in “horrible conditions.”3 These conditions flow

 directly from Defendants’ unconstitutional pretrial-detention practices.

        8.      The medical and mental health emergency at the jail is a result of Defendants’

 wealth-based detention practices. If Defendants employed constitutional bail practices, there

 would be no jail overcrowding in Hamblen County.



        2
            See U.S. Census Bureau, American FactFinder, Poverty Status in the Past 12 Months:
 2013-2017 American Community Survey 5-Year Estimates, Table at 1 (Hamblen County, TN),
 https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?src=CF.
          3
            Richard A. Oppel Jr., ‘A Cesspool of a Dungeon’: The Surging Population in Rural Jails,
 N.Y. TIMES (Dec. 13, 2019), https://www.nytimes.com/2019/12/13/us/rural-jails.html.
                                                      3

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        9.      Named Plaintiffs bring this lawsuit on behalf of themselves and as representatives

 of the class of individuals that includes all people who are or will be arrested and charged with

 criminal offenses and who are or will be detained in the Hamblen County Jail because of

 Defendants’ bail practices. Each Named Plaintiff is already suffering unlawful pretrial

 incarceration due to Defendants’ actions.

        10.     On behalf of themselves and all others similarly situated, Named Plaintiffs seek a

 declaration that Defendants’ policies and practices violate Plaintiffs’ rights to equal protection,

 substantive due process, procedural due process, and representation by counsel. Plaintiffs further

 request that the Court issue appropriate injunctive and declaratory relief that will ensure that

 individuals in Hamblen County do not remain in jail prior to trial solely because of their poverty,

 and without the substantive findings and procedural safeguards that the Constitution requires

 before the government may deprive an individual of pretrial liberty.

        11.     Plaintiffs further ask that this Court grant their Motions for Temporary Restraining

 Order and Class-wide Preliminary Injunction and order Defendant Sheriff to cease enforcing

 unlawful orders to pay financial conditions of pretrial release against Plaintiffs unless Defendants

 Judge Collins, Judicial Commissioners, and Clerk West issue new conditions of release after

 affording Plaintiffs constitutionally compliant bail hearings.



  II.   Jurisdiction and Venue

        12.     This is a civil rights action arising under 42 U.S.C. § 1983, 28 U.S.C. § 2201, et

 seq., and the Fourteenth and Sixth Amendments to the United States Constitution. The Court has

 subject matter jurisdiction under 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 2201

 (Declaratory Judgment Act).



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        13.       Venue is proper in this judicial district and division pursuant to 28 U.S.C. § 1391.



 III.   Parties

        14.       Plaintiff Michelle Torres is a 50-year-old woman. She has been incarcerated in

 the Hamblen County Jail for nearly three days solely because she cannot afford to pay the $75,000

 money bail.

        15.       Plaintiff Robbie Johnson-Loveday is a 49-year-old woman. She has been

 incarcerated in the Hamblen County Jail for nearly six days solely because she cannot afford to

 pay the $6,000 money bail.

        16.       Plaintiff Amanda Cameron is a 36-year-old woman. She has been incarcerated

 in the Hamblen County Jail for more than two days solely because she cannot afford to pay the

 $30,000 money bail.

        17.       Plaintiff Bethany Edmond, is a 36-year-old homeless woman. She has been

 incarcerated in the Hamblen County Jail for five days solely because she cannot afford to pay the

 $1,500 money bail.

        18.       Defendant Sheriff Esco Jarnagin is the head of the Hamblen County Sheriff’s

 Office and keeper of the Hamblen County Jail. Sheriff Jarnagin has custody over the individuals

 in the Jail during their booking and for the duration of their pretrial detention. The Sheriff’s Office

 enforces secured financial conditions of release by detaining people who have been arrested and

 cannot pay the secured money bail required by the General Sessions Court. Sheriff Esco Jarnagin

 is sued in his official capacity for injunctive and declaratory relief.

        19.       Defendant Doug Collins is the Judge of the General Sessions Court in Hamblen

 County, which has jurisdiction over bail proceedings. Judge Collins, in his official capacity,



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 conducts initial-appearance hearings and is responsible for determining release conditions. See 9

 Tenn. Prac. Crim. Prac. & Procedure § 3:2; Tenn. Code Ann. § 40-4-101(6). When a person is

 charged with a bailable offense, Judge Collins is authorized either to release that person on her

 own recognizance pursuant to Tenn. Code Ann. §§ 40-11-115, or to admit that person to bail

 pursuant to Tenn. Code Ann. §§ 40-11-117, - 118, and -122. Judge Collins retains authority to

 determine the conditions of bail “at any time prior to or at the time the defendant is bound over to

 the grand jury.” Tenn. Code Ann. § 40-11-104. Judge Collins has a practice of requiring

 unattainable release conditions without any substantive findings or procedural safeguards, let alone

 the constitutionally required ones.

           20.   Judge Collins has supervisory authority over judicial commissioners in Hamblen

 County. Cf. Tenn. Code Ann. § 40-1-111(a)(1)(B)(iii). Alongside the other General Sessions judge

 in Hamblen County (who generally does not hear criminal matters), Judge Collins has authority to

 appoint and remove judicial commissioners of the court. Tenn. Code Ann. § 40-5-204.

 Additionally, under state law, Judge Collins maintains supervisory authority over the judicial

 commissioners, including over how they determine conditions of release in the first instance. Tenn.

 Code Ann. § 40-1-111(a)(1)(A)(iv). Judge Collins is sued in his official capacity for declaratory

 relief.

           21.   Defendant Katie West Moore, Nancy Phillips, and Kathy Robertson

 (collectively, “Judicial Commissioners”) are judicial commissioners, whose duties include making

 probable cause and money bail determinations. Tenn. Code Ann. § 40-5-201(b). Judicial

 commissioners are authorized to make these bail determinations at the time of booking and at the

 initial appearance. Tenn. Code Ann. § 40-11-105(a). When determining financial conditions of

 release, Defendant Judicial Commissioners do not provide any notice or opportunity to be heard,



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 any opportunity to present or challenge evidence, or any findings by any legal or evidentiary

 standard concerning arrestees’ ability to pay money bail or the necessity of pretrial detention, or

 an explanation of the reasons for their pretrial release and detention decisions on the record. They

 also do not provide counsel at or before the proceeding. The Judicial Commissioners are sued in

 their official capacities for declaratory relief.

         22.     Defendant Teresa West is the Circuit Court Clerk of the General Sessions Court

 in Hamblen County. As clerk, she is authorized to make pretrial release determinations when a

 judge is not present in court and the clerk reasonably believes he will not be present within three

 hours after the defendant is committed to jail. Tenn. Code Ann. § 40-11-105(a). Tenn. Code Ann.

 § 40-11-105(b) sets forth the maximum amounts of money bail that a clerk may set given the

 bailable offense. Clerk West is sued in her official capacity for declaratory relief.

  IV.    Relevant Non-Party

         23.     John Dugger is the Criminal Court Judge for the Circuit Court for the Third

 Judicial District, which encompasses Greene, Hamblen, Hancock, and Hawkins Counties. He sits

 in Hamblen County three terms a year. Judge Dugger presides over all Third District jury trials in

 criminal cases. In addition, all grand jury proceedings take place in the Circuit Court. Grand jury

 proceedings take place six times a year in Hamblen County.

  V.     Statement of Facts

     A. The Named Plaintiffs Are in Jail Because They Cannot Pay the Monetary Amount
        Required For Their Pretrial Release


         24.     Plaintiff Michelle Torres is a 50-year-old woman who is currently detained in the

 Hamblen County Jail. She would be able to leave the jail if she could pay a $75,000 money bail.




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         25.     On February 14, 2020, Ms. Torres was arrested on various drug charges and

 brought to the Hamblen County Jail late in the evening. She was not booked until the following

 morning.

         26.     At booking, a guard at the jail told her that she would have to pay a $75,000 money

 bail to be released. Ms. Torres has no idea how her money bail amount was determined, or why

 she has to pay that sum of money in order to be released.

         27.     Ms. Torres has not been before a judge or judicial commissioner. She has not told

 when she will have her initial appearance.

         28.     During previous incarceration terms in the Hamblen County Jail, Ms. Torres has

 had initial appearances. During those initial appearances, she recalls not being given the

 opportunity to ask for an alternative condition of release or a lower money bail amount.

         29.     Neither Ms. Torres nor anyone else in her life could afford to pay the money bail

 or even lesser amount to a bondsman. She is unemployed and her disability check was cut off

 several months ago and has not yet been reinstated. She would be homeless if she were not able to

 stay at a friend’s house. She struggles to meet the basic necessities of life.

         30.     Ms. Torres is suffering at the Hamblen County Jail. She has serious medical issues

 including cancer. At the jail, she does not expect to receive adequate medical care. The jail is also

 not providing her with a liquid diet, as prescribed for her stomach cancer treatment. Ms. Torres is

 in an extraordinary amount of pain and discomfort.

         31.     Ms. Torres is sleeping on the jail floor in an overcrowded pod, on a plastic cover

 with a very thin strip of filling in it. She has no pillow.




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        32.     Plaintiff Robbie Johnson-Loveday is a 49-year-old woman who is currently

 detained in the Hamblen County jail. She would be able to leave the jail if she could pay a $6,000

 money bail.

        33.     On February 11, 2020, Ms. Johnson-Loveday was arrested on misdemeanor

 charges related to driving under the influence and brought to the Hamblen County jail between 6

 and 7 PM. She was not booked until the following evening on February 12, 2020.

        34.     At booking, a corrections officer told Ms. Johnson-Loveday that her money bail

 was set at $6,000.

        35.     On February 14, 2020, Ms. Johnson-Loveday had an initial appearance with a

 Judicial Commissioner via video conference from a room in the jail. She did not have a lawyer

 during the proceeding.

        36.     The commissioner told Ms. Johnson-Loveday her charges and that she would need

 to pay her money bail in order to be released from jail.

        37.     The proceeding before the commissioner lasted less than two minutes. The

 commissioner did not ask Ms. Johnson-Loveday any questions about how much she should afford

 to pay, whether she had a job, or anything else about her financial resources.

        38.     Ms. Johnson-Loveday lives with her husband in a mobile home in Jefferson

 County, Tennessee.

        39.     Ms. Johnson-Loveday is indigent. She and her husband have no disposable income

 after paying their bills and child and spousal support, and buying food and other basic necessities.

        40.     Ms. Johnson-Loveday works at a book factory through a temporary staffing

 company, making $8.10 per hour. If she stays in jail because she cannot pay the $6,000 money




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  bail, she will lose her job, which she has had for ten months. Losing her job would cause her

  financial ruin.

          41.       At the jail, Ms. Johnson-Loveday is sleeping on a very thin mat placed on the floor

  in a very overcrowded pod. Because she is disabled and only has one hand, it is very difficult for

  her to get up from the floor.

          42.       Ms. Johnson-Loveday is not receiving her daily medication while in jail and is

  feeling unwell and cold as a result.

          43.       Ms. Johnson-Loveday’s preliminary hearing in General Sessions Court is not until

  March 3, 2020—21 days after she was taken into custody.

          44.       Plaintiff Amanda Cameron is a 36-year-old woman who is currently detained in the

  Hamblen County Jail. She would be able to leave the jail if she could pay a $30,000 money bail.

          45.       On February 15, 2020, Ms. Cameron was arrested on various drug charges and

  brought to the Hamblen County Jail. She was not booked for several hours.

          46.       At booking, a guard told her that she would have to pay $30,000 money bail to be

  released. Ms. Cameron does not know why her money bail was set at this amount.

          47.       Ms. Cameron has not been before a judge or judicial commissioner. She was also

  not told when she would have her initial appearance.

          48.       Ms. Cameron cannot afford to pay $30,000 for her release. She also cannot afford

  to pay a lesser amount to a bondsman. No one in her family would be able to scrape together

  enough money to get her out of jail.

          49.       Ms. Cameron is the sole caregiver to her one-year-old daughter. Her only income

  is from occasional jobs she gets to make flower arrangements, amounting to about $300 per week.

  She relies on food stamps to feed herself and her daughter.



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         50.     Being in the jail has taken a significant toll on Ms. Cameron’s physical and mental

  health. She is agonizing over and anxious about being separated from her daughter. She also

  worried that she will not have access to any of her daily medications while in jail. Without these

  medications, she is in pain and at risk of having seizures.

         51.     Ms. Cameron sleeps on the floor of the jail in a very overcrowded cell, on top of a

  thin strip of foam, without a pillow.

         52.     Plaintiff Bethany Edmond is a 36-year-old woman who is currently detained in the

  Hamblen County jail. She would be able to leave the jail if she could pay a $1,500 money bail.

         53.     On February 12, 2020, in the morning, Ms. Edmond was arrested on misdemeanor

  charges for alleged drug possession and littering, and brought to the Hamblen County Jail. She

  was not booked until the early morning of the following day, February 13, 2020.

         54.     Prior to booking, a jail guard told Ms. Edmond that her money bail was set at

  $1,500.

         55.     On February 14, 2020, Ms. Edmond had an initial appearance with a Judicial

  Commissioner via video conference from a room in the jail. She did not have a lawyer during the

  proceeding.

         56.     The commissioner read Ms. Edmond her charges and told her when her next court

  date would be. The commissioner did not ask Ms. Edmond if she would be able to afford her bond.

         57.     The proceeding before the commissioner lasted less than two minutes. The

  commissioner did not ask Ms. Edmond any questions about her financial resources.

         58.     Ms. Edmond is homeless. She and her husband live in a tent. Both she and her

  husband have no money at all and no assets. At the time of her arrest, she recalls having only 36

  cents in her pocket.



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          59.     Ms. Edmond has been unemployed for over a year, but she was scheduled to begin

  orientation for a job at Koch Foods the week of her arrest and start working the following week.

  She fears that she will no longer have that job opportunity when she is released from jail.

          60.     Ms. Edmond is devastated that she cannot see her two children while in jail — she

  normally sees them every day.

          61.     Ms. Edmond is currently in tremendous pain because she has not received any of

  her prescribed medications since entering the jail. Because of this discomfort, she is not able to

  sleep or eat.

          62.     Ms. Edmond sleeps on a thin mat on the floor of the jail without a pillow. Her pod

  is severely overcrowded, and there is mold growing in it.

      B. Because Defendants Do Not Provide a Constitutional Pretrial Release Process People
         Are Incarcerated Solely Due to Their Poverty

          63.     As a matter of practice, Defendants require secured financial conditions of pretrial

  release for almost all people arrested in Hamblen County.

  The Pretrial Release and Detention Process in Hamblen County

          64.     When an arrest warrant is issued prior to arrest, a police officer presents an affidavit

  of complaint to the clerk or deputy clerk, who finds probable cause and signs off on the arrest.

  After the warrant is approved, a judicial commissioner, Judge Collins, or Clerk West sets a

  financial condition of release on the warrant.

          65.     In the case of warrantless arrests, after an individual is arrested and booked into the

  Hamblen County Jail, the arresting officer procures from the Clerk’s office a post-arrest warrant

  on which a financial condition of pretrial release is affixed using the same procedure as for a pre-

  arrest warrant. Thus, all people arrested in Hamblen County have their conditions of release




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  initially determined—in their absence—by either Defendant Judge Collins, one of the Defendant

  Judicial Commissioners, or Defendant Clerk West (collectively, “initial bail-setters”).

          66.     The initial bail-setters impose financial conditions of release without regard to the

  individual’s ability to pay secured money bail, their ties to the community, or other constitutionally

  relevant factors. Despite lacking any knowledge of an individual’s financial circumstances, the

  initial bail-setters have a practice of requiring monetary conditions of release in the vast majority

  of cases. Thus, the initial bail-setters determine an amount of money bail based only on the charges

  on which the arrested person has been booked and the nature of the allegations in the probable

  cause statement, and, when available, any prior convictions and jail-bookings in Hamblen County.

          67.     For people who cannot pay, the money bail order written on their warrant operates

  as a de facto detention order because they cannot obtain the amount of money required for their

  release.

          68.     Individuals who cannot pay the amount of money bail required for their release

  remain in jail and await their “initial appearance.”4 In Hamblen County, a judicial commissioner

  or Judge Collins conducts the initial appearance, typically by video conference between the

  judicial officer in chambers and the arrested person in a converted bathroom in the jail. Initial

  appearances take place only on Mondays, Wednesdays, and Fridays. Initial appearances are very

  brief proceedings at which the judicial officer informs arrested persons of the charges against them,

  their conditions of release, and their next court date. Indigent individuals are not represented by

  counsel at these proceedings and have no opportunity to raise any challenge to their ongoing

  pretrial detention.

          4
            This proceeding is sometimes referred to as an “arraignment” or “video arraignment”
  even though it does not take place in criminal court. See 9 Tenn. Prac. Crim. Prac. & Procedure §
  3:2 (differentiating between an “initial appearance” before a magistrate and an “arraignment”
  before the criminal court following an indictment).
                                                       13

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         69.     At the initial appearance, Judicial Commissioners and Judge Collins reaffirm the

  de facto detention orders set at the warrant stage without making any finding that pretrial detention

  is required to serve a compelling government interest, as is constitutionally required. And they do

  so without any meaningful process, let alone the detailed procedures required by the Due Process

  Clause, including: a timely individualized hearing; notice of the issues to be determined;

  representation by counsel; the opportunity to present and confront evidence and make arguments;

  findings on the record explaining the basis for any condition of release imposed and the evidence

  relied on; and, if such conditions will result in pretrial detention, a finding by clear and convincing

  evidence that pretrial incarceration is necessary because no alternative conditions or combination

  of conditions would reasonably ensure the individual's future court appearance or the safety of the

  community. As a result, the monetary conditions of release affixed at the warrant stage remain

  after the initial appearance and, because the arrestee cannot afford to pay, continue to function as

  de facto orders of pretrial detention.

         70.     Defendant Judicial Commissioners and Judge Collins do not provide at the initial

  appearance an opportunity to contest conditions of pretrial release, including money bail, and

  refuse to hear requests from arrestees to change the conditions. If individuals attempt to request a

  change to their conditions of release, they are not able to. Rather, they must wait for a public

  defender to be appointed and to contact them, and then to request that their attorney file a motion

  for review of their pretrial-release conditions. At the initial appearance, detainees are permitted to

  speak only to inform the court whether they plan to retain counsel or would like a public defender

  to be appointed to represent them.

         71.     If an individual requests and is appointed a public defender, the Clerk notifies the

  Hamblen County Public Defender Office of the appointment. This process can take several days.



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  Although an individual may know she was approved for a public defender if informed by the

  Judicial Commissioner or Judge Collins at the initial appearance, she typically will not know who

  her public defender is until her first appearance in General Sessions court.

         72.      After the initial appearance, individuals who cannot pay their financial conditions

  of release remain detained while awaiting their first appearance before Judge Collins in General

  Sessions Court. This preliminary hearing occurs as many as 14 business days from the initial

  appearance. This hearing is typically the first opportunity for indigent defendants to meet their

  court-appointed counsel. Because there is no mechanism in Hamblen County to request review of

  conditions of release until an individual meets with counsel, the preliminary hearing is also

  typically the first opportunity for defendants to attempt to challenge a de facto order of pretrial

  detention.

         73.      Even when—at or after the preliminary hearing—defense counsel seeks to modify

  the bail amount initially imposed at the warrant stage, Defendant Collins refuses to consider

  constitutionally required factors, including ability to pay, or to provide the substantive findings

  and procedural safeguards required by the Constitution.

         74.      Defendants Judge Collins and Judicial Commissioners routinely require money bail

  in amounts unattainable to the either class members or the average resident of Hamblen County,

  one-fifth of whom live below the poverty line.5

         75.      Judge Dugger, the Criminal Court Judge for the Circuit Court for the Third Judicial

  Circuit, sits in Hamblen County itself only three terms a year, and grand juries are convened only

  six times a year. As a result, individuals subject to de facto pretrial detention due to inability to

  pay will typically wait months before their case has been indicted by a grand jury.



         5
             See U.S. Census Bureau, supra note 2.
                                                       15

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         76.     Individuals who have not yet been indicted by the grand jury are not entitled to

  discovery in their case as a matter of local practice and state law. Those who cannot purchase their

  release are routinely desperate to resolve their cases in order to escape the inhumane and dangerous

  conditions at the Hamblen County Jail. Thus, the vast majority of pretrial detainees in General

  Sessions court in Hamblen County will plead guilty before their public defender has received any

  information about their case, done any investigation, received exculpatory evidence, or been able

  to evaluate the legal and factual defenses available.

         77.     As a result of Defendants’ policies and practices, indigent individuals are subject

  to extended periods of wealth-based pretrial detention before being provided the hearing on their

  conditions of release that federal law requires.

     C. Hamblen County’s Unconstitutional Pretrial Policies and Practices Harm Individuals
        and Communities.

         78.     Due to Defendants’ unconstitutional policies and practices, presumptively innocent

  individuals are detained in Hamblen County every day solely because they are too poor to pay the

  monetary release conditions imposed without any hearing, let alone a hearing that meets

  constitutional standards.

         79.     Pretrial incarceration harms individuals’ lives beyond their loss of liberty and the

  degrading and life-threatening conditions they endure in jail. Other consequences of pretrial

  incarceration include loss of income because individuals often lose their jobs while detained; loss

  of housing and missed payments on utilities and other bills because individuals cannot make rent

  and other payments when jailed; loss of physical and/or legal custody of children; an increase in

  mental illness because conditions in jail can put an individual under extreme stress and restrict

  access to needed medications, exacerbating or even causing further trauma and mental illness; a

  high likelihood of assault, including sexual assault, especially in the first few days of incarceration;


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  exposure to communicable diseases; inability to exercise; deprivation of sunlight and fresh air; and

  forcible separation from children and family.

         80.     In addition, being detained pretrial has a significant impact on the legal outcome of

  a person’s case. Detained individuals are more likely to plead guilty just to shorten their jail time,

  even if they are innocent.6 They have a harder time preparing a defense, gathering evidence and

  witnesses, and meeting with their lawyers. Studies show that those detained pretrial face worse

  outcomes at trial and sentencing than those released pretrial, even when charged with the same

  offense and controlling for all other factors.7 Controlling for other factors, a person who is detained

  pretrial is 13 percent more likely to be convicted and 25 percent more likely to plead guilty than a

  person who is not detained.8 And those detained pretrial are more likely to receive longer jail

  sentences.9   A person’s pretrial detention thus has an irreparable impact on the outcome of a

  criminal case, and on the person’s life for years afterward.

         81.     Thus, Defendants’ practice of issuing de facto detention orders by requiring

  unattainable monetary conditions of pretrial release without substantive findings or procedural



         6
            See Arpit Gupta, Christopher Hansman, & Ethan Frenchman, The Heavy Costs of High
  Bail: Evidence from Judge Randomization 15, 18–19 (May 2, 2016), https://goo.gl/OW5OzL
  (“Criminal defendants assessed bail amounts appear frequently unable to produce the required bail
  amounts, and receive guilty outcomes as a result. Entered guilty pleas by defendants unwilling to
  wait months prior to trial and unable to finance bail likely contribute to this result.”).
          7
             See CHRISTOPHER LOWENKAMP ET AL., INVESTIGATING THE IMPACT OF PRETRIAL
  DETENTION ON SENTENCING OUTCOMES, LAURA AND JOHN ARNOLD FOUNDATION 12, 14 (2013),
  https://university.pretrial.org/viewdocument/investigating-the-im (those detained for the entire
  pretrial period are more likely to be sentenced to jail and prison—and receive longer sentences—
  than those who are released at some point before trial or case disposition); Megan T. Stevenson,
  Distortion of Justice: How the Inability to Pay Bail Affects Case Outcomes, 34 J.L. ECON. & ORG.
  511, 535-36 (2018) (“Pretrial detention leads to an expected increase of 124 days in the maximum
  days of the incarceration sentence, a 42% increase over the mean.”).
          8
            See Stevenson, supra note 7, at 18; see also Gupta, et al., supra note 6, at 19 (finding a
  12 percent increase in the likelihood of conviction using the same data).
          9
            See Paul Heaton et al., The Downstream Consequences of Misdemeanor Pretrial
  Detention, 69 STAN. L. REV. 711, 786-87 (2017).
                                                        17

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  safeguards results in devastating life consequences to individuals based solely on their access to

  cash. To take one extreme example, a man died this past summer at the Hamblen County Jail

  while waiting to be booked.10

          82.     Wealth-based pretrial detention also makes the community less safe. First, wealth-

  based detention unnecessarily jails those who could be released safely into the community. Several

  studies have shown that just two or three days in pretrial detention increases the likelihood that an

  individual will commit a crime in the future, and increases the future risk level of even low-risk

  defendants.11 People who are detained for a few days following arrest are also more likely to miss

  court dates in the future, all because of the destabilizing effects of short periods in jail.12 In other

  words, detention based on poverty for just a few days increases recidivism. Second, wealth-based

  pretrial systems release individuals based only on their ability to pay and without any assessment

  of their risk of flight or dangerousness. Consequently, if the government believed that certain

  individuals needed monitoring or supervision to mitigate their risk of flight or dangerousness, they

  would receive neither if released by paying money bail.



          10
             Travis Dorman, Man Dies While Waiting to Be Booked into Hamblen County Jail,
  Knoxville              News             Sentinel            (Aug.             12,            2019),
  https://www.knoxnews.com/story/news/local/2019/08/12/man-dies-while-waiting-booked-into-
  hamblen-county-jail/1993060001/.
          11
             See Department of Justice, National Institute of Corrections, Fundamentals of Bail, 15-
  16 (2014), https://goo.gl/jr7sMg (“[D]efendants rated low risk and detained pretrial for longer
  than one day before their pretrial release are more likely to commit a new crime once they are
  released, demonstrating that length of time until pretrial release has a direct impact on public
  safety.”); CHRISTOPHER T. LOWENKAMP ET AL., supra note at 7 (studying 153,407 defendants and
  finding that “when held 2–3 days, low risk defendants are almost 40 percent more likely to commit
  new crimes before trial than equivalent defendants held no more than 24 hours”); Paul Heaton et
  al., supra note 9, at 768 (“While pretrial detention clearly exerts a protective effect in the short
  run, for misdemeanor defendants it may ultimately service to compromise public safety,” and
  finding that in a representative group of 10,000 misdemeanor offenders, pretrial detention would
  cause an additional 600 misdemeanors and 400 felonies compared to if the same group had been
  released pretrial).
          12
             See also Gupta et al., supra note 6, at 19.
                                                        18

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         83.     Other jurisdictions around the country do not detain people pretrial based on their

  access to cash. Instead of relying on money, these jurisdictions release arrestees with unsecured

  financial conditions, non-financial conditions, and pretrial supervision practices and procedures

  that can help increase court attendance and public safety without requiring detention. Such non-

  monetary conditions of release include, but are not limited to: unsecured bonds, reporting

  obligations, phone and text message reminders of court dates, rides to court for those without

  transportation or a stable address, substance abuse treatment, mental health treatment, counseling,

  alcohol monitoring devices, stay-away orders, or, in extreme cases of particular individualized

  risk, electronic monitoring, curfew, and home confinement.

         84.     Jurisdictions that rely on non-monetary conditions of release do not sacrifice public

  safety or court attendance; they enhance it. For example, the agency in charge of pretrial

  supervision in Washington, D.C., found that “[t]he high nonfinancial release rate has been

  accomplished without sacrificing the safety of the public or the appearance of people in court.”13

  Specifically, “Agency data show that 90 percent of released people make all court appearances

  and that 91 percent complete the pretrial release period without any new arrests.”14

         85.     The federal system also prohibits wealth-based detention, expressly preventing a

  judicial officer from imposing a financial condition of release that results in pretrial detention. 18

  U.S.C. § 3142(c)(3). It further creates a requirement that an arrested person be released upon

  personal recognizance or execution of an unsecured appearance bond unless findings are made by

  a judicial officer that other conditions are necessary to assure appearance and public safety. 18

  U.S.C. § 3142(b). Although pretrial detention is permitted, it may be imposed only after a hearing

         13
             PRETRIAL JUSTICE INSTITUTE, THE PRETRIAL SERVICES AGENCY FOR THE DISTRICT OF
  COLUMBIA: LESSONS FROM FIVE DECADES OF INNOVATION AND GROWTH 2 (2018),
  https://perma.cc/8KAD-TY5H.
          14
             Id.
                                                       19

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  with rigorous procedural protections, including the right to be represented by counsel; the

  opportunity to testify, present witnesses, and cross-examine witnesses; and a requirement that any

  pretrial detention order be based on a finding on the record that no conditions would ensure the

  person’s appearance and the safety of the community. 18 U.S.C. § 3142 (f). The federal practice

  has not harmed court appearance rates or public safety.15

         86.     Pretrial detention based solely on wealth is consistently more expensive to

  administer than effective pretrial release programs.16 Without relying on a person’s ability to afford

  cash bail, pretrial release programs can save taxpayer expense while maintaining high public safety

  and court appearance rates associated with wealth-based practices like Defendants’, which rely

  solely on access to money.

     D. Defendants’ Wealth-Based Detention Practices Have Resulted in Deplorable
        Conditions in the Hamblen County Jail.

         87.     The Hamblen County Jail is urgently overcrowded. Although it is certified for 255

  individuals,17 in December 2019, the most recent month for which data are available, 384 people

  were detained in the jail on a given day.18 This means the Jail was operating at 150.6 percent




         15
             See Thomas H. Cohen, Pretrial Release and Misconduct in Federal District Courts,
  2008-2010, Bureau of Justice Statistics Special Report 13 (Nov. 2012), https://goo.gl/hN99E7
  (finding from 2008 to 2010, only 1 percent of federal defendants released pretrial failed to make
  court appearances and 4 percent were arrested for new offenses).
          16
             See, e.g., PRETRIAL JUSTICE INSTITUTE, PRETRIAL JUSTICE: HOW MUCH DOES IT COST?
  (2017), https://goo.gl/0lLtLM (“It has been estimated that implementing validated, evidence-based
  risk assessment to guide pretrial release decisions could yield $78 billion in savings and benefits,
  nationally.”); UNITED STATES COURT, SUPERVISION COSTS SIGNIFICANTLY LESS THAN
  INCARCERATION IN FEDERAL SYSTEM (2013), https://goo.gl/dJpDrn (In 2012, “[p]retrial detention
  for a defendant was nearly 10 times more expensive than the cost of supervision of a defendant by
  a pretrial services officer in the federal system”).
          17
             Sheriff’s Department and Jail, www.hamblencountytn.gov/sheriffs-department-and-
  jail/.
          18
               TENN. DEP’T OF CORR., TENNESSEE JAIL SUMMARY REPORT (Dec. 2019),
  https://www.tn.gov/content/dam/tn/correction/documents/JailDecember2019.pdf.
                                                       20

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  capacity. The situation has been even worse in other months. In July and August 2019, the Jail

  detained more than 450 on a given day.19

         88.     This overcrowding is inhumane. Rather than beds, many individuals sleep chained

  to benches, door handles, poles, and their own wheelchairs. Converted storage closets are used as

  ersatz housing units, where detained people sleep shoulder-to-shoulder on mattresses on the floor.

  They lack adequate clothing—often less than enough to be fully covered. Detainees, packed into

  small unsanitary spaces, suffer from poor ventilation and face high risks of getting sick from the

  mold and mildew in the jail, which is not adequately cleaned because of the severe overcrowding.

  Lacking a dedicated meeting space, lawyers must speak to their clients in a converted supply

  closet. The conditions in the Hamblen County Jail therefore make it difficult for detainees to mount

  an effective legal defense.




         19
            TENN. DEP’T OF CORR., TENNESSEE JAIL SUMMARY REPORT (July 2019),
  https://www.tn.gov/content/dam/tn/correction/documents/JailJuly2019.pdf; Tenn. Dep’t of Corr.,
  TENNESSEE           JAIL          SUMMARY            REPORT            (Aug.           2019),
  https://www.tn.gov/content/dam/tn/correction/documents/JailAugust2019.pdf.
                                                      21

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        Source: New York Times




                                          22

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        Source: New York Times




                                          23

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         89.     From 2010 to present, the Tennessee Corrections Institute—the state government

  body responsible for establishing minimum standards for jails—has recommended the Hamblen

  County Jail for non-certification for failure to comply with its minimum standards.20

         90.     Defendant Sheriff Jarnagin has acknowledged that the jail fails to meet the

  minimum standards required by the TCI.21 He notes: “We’re trying to keep the jail clean but it’s

  difficult to keep a cell block clean when you’ve got six beds and you’ve got 35 inmates in there.”22

         91.     The extreme overcrowding in the jail is a direct consequence of Defendants’ use of

  money bail to order the de facto detention of people accused of crimes. Few can afford to pay for

  their freedom, as one out of every five people in Hamblen County lives in poverty.23 Only 4.5

  percent of the population over the age of 16 worked full-time year-round in 2017, the last year for

  which data is available.24 Over 26 percent of this population did not work at all in 2017.25

         92.     Fifty percent of the population of the Hamblen County jail is detained pretrial. The

  vast majority of that detained pretrial population is there solely because they cannot afford to pay

  for their release. Many pretrial detainees in the Hamblen County Jail are not only detained pretrial

  but also pre-indictment. Because grand juries convene only three times a year in Hamblen County,




         20
             Memorandum Opinion and Order, Zackery Beck v. Hamblen County, TN and Esco
  Jarnagin, No. 2:17-CV-178-TRM (E.D. Tenn. Apr. 12, 2019) 2 (2010-17); TENN. DEP’T OF
  CORR., TENNESSEE JAIL SUMMARY REPORT (September 2018),
  https://www.tn.gov/content/dam/tn/correction/documents/JailSeptember2018.pdf; TENN. DEP’T
  OF CORR., TENNESSEE JAIL SUMMARY REPORT (August 2019),
  https://www.tn.gov/content/dam/tn/correction/documents/JailAugust2019.pdf; see also Tenn.
  Code Ann. § 41-4-140(b)(1).
          21
              See Amanda Garcia, Concerns grow about overcrowding at Hamblen County Jail,
  WATE.COM, (Aug. 10, 2018), https://www.wate.com/news/local-news/concerns-grow-about-
  overcrowding-at-hamblen-county-jail/.
          22
             Id.
          23
             See U.S. Census Bureau, supra note2.
          24
             Id.
          25
             Id.
                                                      24

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  this period can last for months, during which they do not receive discovery and cannot

  meaningfully assess the strength of their case for trial.

         93.     To escape prolonged detention in the Hamblen County Jail and the outrageous

  conditions there, most pretrial detainees choose to plead guilty before their case has even been

  indicted by a grand jury or they have received discovery.

   VI.   Class Action Allegations

         94.     Named Plaintiffs bring the Claims in this action, on behalf of themselves and all

  others similarly situated, as a class action under Federal Rules of Civil Procedure 23(a)(1)-(4) and

  23(b)(2).

         95.      Under Federal Rule of Civil Procedure 23(a), certification of a class is appropriate

  where: (1) the class is so numerous that joinder of all members is impracticable; (2) there are

  questions of law or fact common to the class; (3) the claims or defenses of the representative parties

  are typical of the claims or defenses of the class; and (4) the representative parties will fairly and

  adequately protect the interests of the class. Fed. R. Civ. P. 23(a).

         96.     Plaintiffs request that the Court certify a class composed of all people who are or

  will be arrested and charged with criminal offenses and who are or will be detained in the Hamblen

  County Jail because of Defendants’ bail practices

     A. Rule 23(a)

         97.     Numerosity. The precise size of the Class is unknown by Plaintiff because it is

  forward-looking, but it is substantial, given that hundreds of arrests are each made every year in

  the Hamblen County District Court. Joinder of these unknown future members is impracticable.




                                                        25

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            98.      Many of the class members are low-income individuals who will likely lack

  financial resources to bring an independent action or to be joined in this action. Joinder of every

  member of the class would be impracticable.

            99.      Commonality. The relief sought is common to all class members. Named Plaintiffs

  seek relief from Defendants’ money bail policies, practices, and procedures, which violate the

  rights of the Class members. Named Plaintiffs also seek relief declaring that Defendants’ policies,

  practices, and procedures regarding the setting of bail violate the Class members’ constitutional

  rights.

            100.     Among the most important, but not the only, common questions of fact are:

                  a. Whether Defendants impose monetary conditions of release that result in detention
                     without consideration of class members’ ability to pay;

                  b. Whether Defendants require pretrial conditions of release that result in detention
                     without any substantive findings that detention is necessary;

                  c. Whether, when, and how Defendants determine what conditions of pretrial release
                     should be and whether, for example, Defendants provide a timely individualized
                     hearing; notice of the issues to be determined; representation by counsel; the
                     opportunity to present and confront evidence and make arguments; findings on the
                     record explaining the basis for any condition of release imposed and the evidence
                     relied on; and, if such conditions will result in pretrial detention, a finding by clear
                     and convincing evidence that pretrial detention is necessary because no alternative
                     conditions or combination of conditions would reasonably ensure the individual's
                     future court appearance and the safety of the community; and

                  d. How long individuals arrested must wait in jail after arrest before they have an
                     opportunity to challenge pretrial release conditions, raise their inability to pay for
                     their release or to request alternative, non-financial conditions.

            101.     Among the most important common question of law are:

                  a. Whether Defendants’ detention of poor arrestees without the substantive findings
                     the Constitution requires before a presumptively innocent person may be ordered
                     Whether requiring an individual to pay money to secure release from pretrial
                     detention without an inquiry into or findings concerning the individual’s ability to
                     pay the amount required, and without meaningful consideration of and findings



                                                            26

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                 concerning less restrictive alternative conditions of release, violates the Fourteenth
                 Amendment’s Due Process and Equal Protection clauses;

             b. Whether it is lawful to impose a secured financial condition of release that operates
                as a de facto order of pretrial detention because of a person’s inability to pay
                without complying with the procedural safeguards, applying the correct legal
                standard, and making the substantive findings required for an order of preventive
                pretrial detention; and

             c. Whether setting of pretrial release conditions without affording an individual
                counsel violates the Sixth Amendment and the Fourteenth Amendment’s Due
                Process Clause.


         102.    Typicality. Named Plaintiffs’ claims are typical of the claims of the other members

  of the Class, and they have the same interests in this case as all other Class members that they

  represent. Each of them suffers injuries from the failure of Defendants to comply with the

  Constitution: they are each confined in jail because they could not pay their secured monetary

  bond amount. Resolution of the constitutionality of Defendants’ money bail practices will

  determine the claims of Named Plaintiffs and every other Class member.

         103.    If Named Plaintiffs succeed in the claim that Defendants’ policies and practices

  concerning wealth-based detention violate their constitutional rights, that ruling likewise will

  benefit every other member of the Class.

         104.    Adequacy. Named Plaintiffs will fairly and adequately represent the interests of

  the proposed Class they seek to represent.

         105.    Named Plaintiffs have no interests separate from or in conflict with those of the

  proposed Class they seek to represent as a whole and Named Plaintiffs seek no relief other than

  the declaratory and injunctive relief, which is sought on behalf of the entire proposed Class they

  seek to represent.




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         106.    Class Counsel. Named Plaintiffs are represented by attorneys from Civil Rights

  Corps and the Institute for Constitutional Advocacy and Protection, who have experience in

  litigating complex civil rights matters in federal court and extensive knowledge of both the details

  of Defendants’ practices and the relevant constitutional and statutory law. Counsel have the

  resources, expertise, and experience to prosecute this action.

     B. Rule 23(b)(2)

         107.    Class certification is appropriate because Defendants have acted in the same

  unconstitutional manner with respect to all class members: Defendants require all arrestees to pay

  for their release. Those who can pay are released and those who cannot are detained.

         108.    The Class therefore seeks declaratory and injunctive relief that Defendants violate

  the Named Plaintiffs’ and Class members’ rights under the Fourteenth and Sixth Amendments by

  requiring secured financial conditions of release without prompt and individualized release

  hearings that provide appropriate substantive findings and adequate procedural protections.

  Because the putative Class challenges Defendants’ practices as unconstitutional through

  declaratory and injunctive relief that would apply the same relief to every member of the Class,

  Rule 23(b)(2) certification is appropriate and necessary.

     C. Rule 23(g)

         109.    Federal Rule of Civil Procedure 23(g) requires that the court appoint class counsel

  for any class that is certified. Fed. R. Civ. P. 23(g)(1). Class counsel must “fairly and adequately

  represent the interests of the class.” Fed. R. Civ. P. 23(g)(4).

         110.    For reasons set forth in the contemporaneously filed Memorandum in Support of

  Motion for Class Certification, undersigned counsel meet the factors the court must consider under

  Rule 23(g): (1) “the work counsel has done in identifying or investigating potential claims in the



                                                        28

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  action”; (2) “counsel’s experience in handling class actions, other complex litigation, and the types

  of claims asserted in the action;” (3) “counsel’s knowledge of the applicable law;” and (4) “the

  resources that counsel will commit to representing the class.”

  VII.   Claims for Relief

                                                   COUNT I

        Defendants Violate Plaintiffs’26 Fourteenth Amendment Rights to Equal Protection
   and Due Process through a Policy and Practice that Jails Individuals Prior to Trial Based
                                  on their Access to Money

         111.    Plaintiffs incorporate by reference each and every allegation contained in the

  preceding paragraphs as if set forth fully herein.

         112.    Plaintiffs have a right to be free from wealth-based detention. The Fourteenth

  Amendment’s Equal Protection and Due Process Clauses forbid the government to detain

  individuals prior to trial based solely on lack of access to money. The constitutional principles

  that forbid jailing a convicted defendant solely because the person is unable to make a payment,

  see, e.g., Bearden v. Georgia, 461 U.S. 660, 672 (1983) (invalidating state practice of

  automatically revoking probation for failure to pay a fine or restitution, without considering

  probationer’s ability to pay or whether other alternative measures meet state’s interest in

  punishment and deterrence), apply with even greater force to an arrestee who is presumed innocent.

                                                  COUNT II

                    Defendants Violate Plaintiffs’ Fundamental Fourteenth Amendment
                                  Due Process Right to Pretrial Liberty

         113.    Plaintiffs incorporate by reference each and every allegation contained in the

  preceding paragraphs as if set forth fully herein.



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           For each claim, the term “Plaintiffs” refers to both the Named Plaintiffs and members of
  the proposed class, unless otherwise specified.
                                                       29

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         114.    Freedom from imprisonment lies at the heart of the liberty that the Due Process

  Clause protects. See, e.g., Foucha v. Louisiana, 504 U.S. 71, 80 (1992) (“Freedom from bodily

  restraint has always been at the core of the liberty protected by the Due Process Clause from

  arbitrary government action.”). Pretrial detention infringes upon this right and may only be

  required if it is narrowly focused to serve compelling government interests.

         115.    The state’s interest at the pretrial stage is limited to ensuring the accused will appear

  for trial and protecting the public from danger associated specifically with that individual’s release.

         116.    Here, Plaintiffs have been detained on de facto detention orders and deprived of

  pretrial liberty through imposition of unattainable financial conditions without any court

  considering Plaintiffs’ likelihood of appearing at future court appearances and whether Plaintiffs

  pose any danger to the community, and without any court making a substantive finding that no

  alternatives to such de facto pretrial detention would serve the government’s interests.

                                                  COUNT III

                          Defendants Violate Plaintiffs’ Fourteenth Amendment
                                   Right to Procedural Due Process

         117.    Plaintiffs incorporate by reference each and every allegation contained in the

  preceding paragraphs as if set forth fully herein.

         118.    Procedurally, orders of pretrial detention may be entered only after rigorous

  procedures have been met. See, e.g., Mathews v. Eldridge, 424 U.S. 319 (1976). These procedures

  include, but are not necessarily limited to: a timely individualized hearing; notice of the issues to

  be determined; representation by counsel; the opportunity to present and confront evidence and

  make arguments; findings on the record explaining the basis for any condition of release imposed

  and the evidence relied on; and, if such conditions will result in pretrial detention, a finding by

  clear and convincing evidence that pretrial incarceration is necessary because no alternative


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  conditions or combination of conditions would reasonably ensure the individual's future court

  appearance and the safety of the community. Procedural due process requires procedures sufficient

  to protect Plaintiffs’ substantive rights to pretrial liberty and against wealth-based detention.

          119.    Here, Plaintiffs were provided none of these constitutionally required procedures

  before being detained because they could not pay.

                                                COUNT IV

                  Defendants Violate Plaintiffs’ Sixth Amendment Right to Counsel
          by Not Providing Them with Counsel at Proceedings Resulting in Pretrial Detention

          120.    Plaintiffs incorporate by reference each and every allegation contained in the

  preceding paragraphs as if set forth fully herein.

          121.    The Sixth Amendment to the United States Constitution guarantees criminal

  defendants the right to counsel at each post-attachment critical stage of the criminal process. See,

  e.g., Lafler v. Cooper, 566 U.S. 156, 165 (2012) (“The Sixth Amendment requires effective

  assistance of counsel at critical stages of a criminal proceeding. . . . The constitutional guarantee

  applies to pretrial critical stages . . . .”). Bail determinations are post-attachment critical stages for

  which counsel must be provided.

          122.    Defendants’ failure to provide counsel at hearings that result in pretrial detention

  that prejudices both Plaintiffs’ immediate liberty interests and the ultimate outcomes of their cases.

          123.    Defendants violate the Sixth Amendment by conducting critical pretrial release and

  detention proceedings without providing counsel.

 VIII.    Prayer for Relief

          124.    WHEREFORE, Plaintiffs respectfully request the following relief:

                  a.    Certification of a class under Rules 23(a) and (b)(2) of the Federal Rules of
          Civil Procedure, represented by Named Plaintiffs;



                                                         31

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               b.      A declaration that Defendants violate Named Plaintiffs’ and Class
        members’ rights under the Fourteenth Amendment by requiring secured financial
        conditions of release without inquiry into or findings concerning their ability to pay, or
        meaningful consideration of and findings concerning whether alternative non-financial
        conditions of release serve the government’s interests;

                c.     A declaration that Defendants violate Named Plaintiffs’ and Class
        members’ due-process rights by imposing financial conditions of release that result in
        detention without conducting a prompt individualized release hearing with adequate
        procedural safeguards including the following:

                       ●       Notice to the individual arrested of the critical factual and legal
               issues at stake in the proceeding;

                      ●      If a financial condition of release is being considered, a
               determination of each individual’s ability to pay money bail and the amount of
               money they can afford;

                       ●        An opportunity for the individual arrested to be heard concerning
               their ability to afford money bail and what nonmonetary release conditions, if any,
               are necessary.

                      ●       An opportunity for the individual arrested to present evidence,
               contest the government’s evidence, and to make arguments concerning the
               imposition of conditions of release;

                      ●       The provision of counsel if the individual is unable to afford
               counsel;

                       ●       Before imposing pretrial detention, substantive findings on the
               record by clear and convincing evidence, including the evidence relied on and
               reasons for such findings, that detention is necessary because no less restrictive
               alternatives to detention address the state’s compelling interests;


               d.      A declaration that Defendants violate Named Plaintiffs’ and Class
        Members’ right to counsel under the Sixth Amendment by failing to provide counsel to
        indigent people at pretrial release and detention hearings;

                e.      A temporary restraining order requiring the Sheriff to release Named
        Plaintiffs unless they are provided the procedures stated above;

               f.       An order and judgment preliminarily and permanently enjoining the Sheriff
        from enforcing financial conditions that result in de facto pretrial detention without
        findings that pretrial detention is necessary to meet a compelling government interest and
        without the procedural safeguards required for confidence in that substantive outcome;


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               g.      An order and judgment granting reasonable attorneys’ fees and costs
        pursuant to 42 U.S.C. § 1988; and

               h.     Such other relief as the Court deems just and appropriate.



  Dated: February 16, 2020                      Respectfully submitted,

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